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Subject: FY22
Subject:        PBP
          FY22 PBP

DACIN
DACIN
      (D)river: Mark
  •• (D)river:        Schobinger
                Mark Schobinger
  •• (A)pprover:            Chapman, Elon
      (A)pprover: Lindsay Chapman,
                   Lindsay                    Musk
                                        Elon Musk
  •• (C)onsulted:
      (C)onsulted  : Mason
                     Mason Eves,
                            Eves, Brian
                                   Brian Kirrene,
                                          Kirrene, Braden Amundsen,
                                                   Braden           TaylorHorton,
                                                          Amundsen, Taylor          Lauren
                                                                           Horton, Lauren
      Wegman,
     Wegman,     Yabre
                Yabre  Kompaore,
                       Kompaore,    Nikki
                                   Nikki  Sommer
                                          Sommer
                    TBD
      (I)nformed: TBD
  •• (I)nformed:

 Overview
Overview
Twitter
 Twitterhas
         has aadiscretionary
                discretionary incentive  performance bonus
                               incentive performance                ('PBP") that
                                                              plan ("PBP")
                                                       bonus plan                           employees
                                                                                    rewards employees
                                                                              that rewards
with
 with achieving
      achieving short-term
                  short-term (1-year)
                              (1-year) operational
                                       operational goals. The plan
                                                   goals. The        is aatwo-step
                                                               plan is                          funding
                                                                                     process - funding
                                                                           two-step process             -




 followed by
followed      allocation.
           by allocation.

The
 The PBP
      PBP funding
             funding model
                       model hashas aafloor
                                       floor of
                                              of 50%
                                                  50% and      ceiling of
                                                       and aaceiling      200% 1.Consistent
                                                                       of 200%1.               with prior
                                                                                  Consistent with           years,
                                                                                                     prior years,

 FY22's goals consisted of top- and bottom-line financial measures,
FY22's    goals  consisted    of  top- and  bottom-line    financial  measures,    Revenue
                                                                                  Revenue    and
                                                                                             and   EBITDA,
                                                                                                  EBITDA,
respectively,
 respectively, the
                 the goal
                      goal of
                            of which
                               which was
                                       was toto drive
                                                 drive profitable   growth. Notwithstanding
                                                       profitable growth.                           foregoing,
                                                                                              the foregoing,
                                                                            Notwithstanding the
solely  in the event    of unforeseen
 solely in the event of unforeseen        and
                                         and    extraordina
                                               extraordinary  ry circumstanc  es,
                                                                 circumstances,   discretion
                                                                                  discretion  can
                                                                                             can   be    exercised
                                                                                                    be exercised
to
 to determine
    determine aaPBP PBP pool
                           pool amount
                                 amount based
                                          based on     an alternative
                                                   on an                formula and/or
                                                          alternative formula           elect not
                                                                                and/or elect        to fund
                                                                                               not to        any
                                                                                                        fund any
 PBP pool
PBP          for the
       pool for              year.
                      plan year.
                  the plan

Once
Once aaPBP
         PBP pool
               pool is
                     is funded,    the pool
                         funded, the          is then
                                        pool is         allocated by
                                                  then allocated      managers who
                                                                   by managers         use discretion
                                                                                  who use              to
                                                                                           discretion to

determine individual bonuses based on the eligible
determine  individual    bonuses     based   on   the eligible  employee's
                                                               employee's    target
                                                                            target  percentage
                                                                                    percentage  and
                                                                                                and   the
                                                                                                     the
manager's
manager's assessment
            assessment of    of the
                                 the eligible
                                      eligible employee's                performance and
                                                              individual performance
                                               employee's individual                        overall
                                                                                        and overall
contribution to the
contribution to the   team
                     team    and
                            and     the
                                   the   company's
                                        company's      goals.
                                                      goals.

Consistent
 Consistent with
               with the
                     the inception
                          inception ofof the
                                          the PBP    plan, the
                                              PBP plan,                     phase is
                                                                 allocation phase
                                                            the allocation              based on
                                                                                     is based   on aa50/50  model
                                                                                                     50/50 model
where
 where 50%50% ofof an
                   an individual's
                       individual's bonus
                                      bonus is    based on
                                               is based   on the results of the
                                                              the  results of the  corporate
                                                                                   corporate    measures
                                                                                               measures    (the
                                                                                                          (the
same
 same    measures
         measures    used
                      used  to
                             to fund
                                 fund  the
                                      the   pool)
                                           pool)   and
                                                   and  50%
                                                        50%    of      bonus is
                                                                   the bonus
                                                               of the             based on
                                                                               is based           employee's
                                                                                              the employee's
                                                                                         on the

 individual performance. Regardless, an individual's PBP
individual   performance.      Regardless,     an  individual's   PBP    payout
                                                                        payout    amount
                                                                                  amount   is
                                                                                          is  capped
                                                                                              capped  at 200% of
                                                                                                      at 200%   of
        individual target
 their individual
their                       bonus'.
                    target bonus2.




                                                                                       EXHIBIT
                                                                                       EXHIBIT  2 23
                                                                                                  3
1 Refer                        located in the appendix
                         PBP" located
           "Funding the PBP"
                                                                                       vm            Cr
1 Refer to "Funding                                                                    WIT. Schobiii er

  Refer to "Allocating
2 Refer
2                          PBP" located
           "Allocating the PBP"           in the appendix
                                 located in                                            DATE:
                                                                                       DATE: C ' 2•2.
                                                                                       SHARON
                                                                                       SHARON ROSS,           RMR
                                                                                                         CRR, RMR
                                                                                              ROSS, CSR, CRR,




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 Issue
Issue
We
 We expect
     expect actuals
              actuals to
                       to be                       than the
                                             less than
                              substantially less
                          be substantially                           end of
                                                                low end
                                                           the low            the payout
                                                                           ofthe          curve. Per
                                                                                  payout curve.      plan
                                                                                                 Per plan
design,
 design, the
          the bonus
              bonus pool
                      pool would
                            would fund
                                   fund at
                                         at 50%,
                                            50%, i.e.,          floor of
                                                           the floor
                                                    i.e., the             the funding
                                                                      of the           curve', absent
                                                                               funding curve3,         exercising
                                                                                               absent exercising
 discretion.
discretion.

There
There are
      are two
           two decisions  to make
               decisions to                   the FY22
                                  concerning the
                             make concerning           PBP:
                                                  FY22 PBP:

    1.
     1. Should   theplan
        Should the           funded?
                         be funded?
                    plan be
    2.
    2. If
        iffunded,
           funded, how
                   how should   the PBP
                        should the      be allocated
                                    PBP be               employees?
                                                      to employees?
                                           allocated to

 FY22 PBP
FY22           Funding
        PBP Funding
                                                   required to
                                               is required
                                         Elon is                         f
                                                                approve funding
                                                             to approve                 PBP.When
                                                                                   th e PBP.
                                                                         u ndi ng the               un di ng
                                                                                                    f
                                                                                             Wh en funding
As  the sole  director of the
 As the sole director of        company, Elon
                           the company,
     plan, the
 the plan,
the                        arei
                choices are:
            the choices



       Recommendation
       Recommendation                                 Pros
                                                      Pros                                     Cons
                                                                                               Cons

 1.1. Exercise discretion to
      Exercise discretion     NOT
                           to NOT      •• Sends     strong
                                           Sends aastrong                           Could create
                                                                                •• Could              noise
                                                                                            create noise
     fund   the pool;
      fund the        or
                pool; or                   pay-for-performance
                                          pay-for-performance                       internally/externally
                                                                                   internally/externally
                                           message
                                          message                               •• Could
                                                                                    Could be     demotivating to
                                                                                            be demotivating      to
                                       •• Reinforces   consequences of
                                           Reinforces consequences        of       employee
                                                                                    employee population       still
                                                                                                  population still
                                           not meeting
                                          not           goals
                                               meeting goals                        here
                                                                                   here
                                       •• Favored
                                           Favored by   investors
                                                    by investors                            lead to
                                                                                    Could lead
                                                                                •• Could               increased
                                                                                                   to increased
                                          (removes   guarantee in
                                           (removes guarantee         the
                                                                  in the           attrition
                                                                                    attrition of                talent
                                                                                                  exceptional talent
                                                                                              of exceptional
                                                of poor
                                           case of
                                          case           financial
                                                   poor financial
                                           performance)
                                          performance)

 2. Approve
 2. Approve funding      the pool
                funding the       at
                             pool at   •• Is  built into
                                           Is built       existing
                                                     into existing              •• Does   not send
                                                                                    Does not           strong
                                                                                              send aastrong
    the
    the  floor
        floor   (50%)
               (50%)                                    (we've accrued
                                           financials (we've
                                          financials                      for
                                                                 accrued for        pay-for-performance
                                                                                   pay-for-performance
                                          this                 FY22)
                                                 throughout FY22)
                                           this throughout                          message
                                                                                   message
                                       •• Aligns
                                          Aligns with                 from
                                                          messaging from
                                                    with messaging                  Disfavored by
                                                                                •• Disfavored       investors
                                                                                                by investors
                                           prior management
                                          prior                    assuming
                                                  management assuming               (provides aaguarantee
                                                                                   (provides                for
                                                                                                guarantee for
                                           we remained
                                          we                   public
                                               remained aapublic                                results)
                                                                                   suboptimal results)
                                                                                   suboptimal
                                           company
                                          company


IfIf the
     the decision
         decision is
                   is to
                      to NOT
                         NOT fund
                             fund the
                                   the pool, no additional
                                       pool, no  additional decision  from Elon
                                                            decision from        is required
                                                                           Elon is           as we
                                                                                    required as    would
                                                                                                we would
suspend
suspend the needneed to move    to the
                          move to                  phase of
                                       allocation phase
                                   the allocation                PBP.
                                                          of the PBP.


Allocating the FY22FY22 PBPPBP to  Employees
                                to Employees
As previously
    previously stated,
               stated, once
                        once the PBP
                                 PBP is           bonuses are
                                      is funded, bonuses            allocated to employees. When
                                                           are then allocated

allocating bonuses
allocating bonuses to employees,
                         employees, the sum of      allocation can be
                                             of the allocation         no greater than the
                                                                   be no
aggregate
aggregate   size
           size  of
                 of the funded  bonus
                               bonus  pool.
                                      pool.

FY22           extraordinary year for many     reasons, and the allocation recommendations
                                        many reasons,                                            a
                                                                                             are a
                                                                            recommendations are
FY22 was an extraordinary
philosophical                                                      as financial outcomes were
              reflection of should we treat everyone the same as financial outcomes were not  not
philosophical reflection
something most employees
something  most   employees had                                 recognizing some employees still
                               had direct control over versus recognizing
                       results
contributed amazing results    at an  individual
                                     individual   level.
                                                 level.  Thhices
                                                         The choices are:



3 Refer to the "FY22
 Refer to the "FY22 Funding                in the appendix
                    Funding Curve" located in


                                                                                                                         2
                                                                                                                         2


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          Recommendation
          Recommendation                                 Pros
                                                         Pros                                   Cons

    1. Treat all employees
    1.             employees thethe        ••                   previously
                                               We've done this previously        ••              recognize
                                                                                      Does not recognize
                      individual
       same at an individual                   when under performing                             performance
                                                                                      individual performance
       performance levellevel ("we  are
                               (we are                   require inputs
                                            •. Does not require         from
                                                                 inputs from     ••   Some employees may feel  feel
       all in it together")4;  or
                 together" )4; or              managers                               the bonus isis too small
                                                                                                     too small
                                                            company
                                           •• Emphasizes company
                                               performance is shared by all
                                               employees
                                           •• Reduces pressure on  on lack of
                                                                      lack of
                                               year-end ratings

                            bonuses
    2. Allow differentiated bonuses        •• Supports ability to  deliver
                                                                to deliver       ••                      noise
                                                                                   Could create some noise
       by leveraging the  latest
                      the latest                             bonuses
                                              differentiated bonuses               with some employees who   who
       available QCI ratings                  based on          available
                                                         latest available
                                                      on latest                                 extraordinary
                                                                                   believe the extraordinary
                                              QCI ratings                                     FY22 were
                                                                                   events of FY22          out
                                                                                                     were out
                                                                                         control
                                                                                   their control
                                                                                •• Not all current managers are are
                                                                                                     same
                                                                                                 the same
                                                                                   necessarily the
                                                                                   managers whowho assigned     the
                                                                                                     assigned the
                                                                                   latest QCI rating (due toto
                                                                                   workforce actions we've
                                                                                                       we've
                                                                                   been taking)
                                                                                                               from
                                                                                                        input from
                                                                                •• May require some input
                                                                                   managers or a  ajudgment     call
                                                                                                    judgment call
                                                                                                  performance if
                                                                                   on individual performance      if
                                                                                                        available
                                                                                   aQCI rating is not available
                                                                                   a

Note, while a                                       want to
                                                we want
             adecision is not needed for this, we             clarify if
                                                           to clarify         decision is
                                                                          the decision
                                                                       if the                 support
                                                                                           to support
                                                                                        is to
differentiated
differentiated bonuses,
                bonuses, we will need to create a           tool to
                                                 asimple tool         assign a
                                                                  to assign    apredetermined     individual
                                                                                 predetermined individual
                                        rating to
performance factor based on the QCI rating
performance                                       calculate   the  bonus     amount,  and
                                               to calculate the bonus amount, and ensure theensure  the

aggregate
aggregate of these calculations remains no greater than than the    funded amount
                                                              the funded                  the PBP
                                                                                      of the
                                                                              amount of             pool.
                                                                                              PBP pool.
For                                   a scale  for the  ratings  in  this  paper  as we  will have  to fine
For this reason, we are not showing a scale for the ratings in this paper as we will have to fine
tune
tune based
      based on
             on the actual QCI ratings. But               expected to
                                        But it would be expected                adifferentiated
                                                                            see a
                                                                        to see                   individual
                                                                                  differentiated individual

performance
performance    factor applied based on the QCI   rating
                                                 rating  scale
                                                         scale  seen
                                                                seen    here:
                                                                        here:


              Rating
              Rating      ..
                                                                 Rating Definition
                                                                 Rating Definition

           Not on Track              Performance is currently below expectations, inconsistent,
                                     Performance                                                    and
                                                                                    inconsistent, and
                                                                            quarter, the
                                     improvement is needed. Over the last quarter,        Tweep has
                                                                                     the Tweep             fully
                                                                                                       not fully
                                                                                                   has not
                                     met expectations of the 'what' and/or the
                                                                           the `how'  for their
                                                                               'how' for        role and
                                                                                          their role     level.
                                                                                                     and level.

             On Track                                                            meeting expectations
                                     Performance is currently and consistently meeting                   and
                                                                                          expectations and
                                     meeting
                                     meeting   Twitter's high bar for performance. Over the last
                                                                                            last quarter,
                                                                                                 quarter, the
                                                                                                          the
                                     Tweep has consistently met expectations of thethe `what' and the
                                                                                       'what' and            for
                                                                                                       'how' for
                                                                                                   the `how'
                                                    level.
                                                and level.
                                     their role and

                  Ahead
         Tracking Ahead                                                   expectations, and
                                     Performance is currently exceeding expectations,                   impact
                                                                                            significant impact
                                                                                        and significant
                                                                 the last
                                                            Over the
                                     is broadly recognized. Over          quarter, the
                                                                     last quarter,     Tweep has
                                                                                   the Tweep      exceeded
                                                                                             has exceeded



4 Refer
' Refer to the illustrative allocation example "In It               how this
                                                                for how
                                                   It Together" for                work located
                                                                             would work
                                                                        this would                 the
                                                                                                in the
                                                                                        located in
appendix


                                                                                                                      3
                                                                                                                      3


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                      expectations of the 'what'
                                          `what' and the `how' for their
                                                         'how' for       role and
                                                                   their role     level,
                                                                              and level.




                                                                                               4
                                                                                               4

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Appendix

Funding the PBP
The
The PBP                           achievement of established company
     PBP pool is funded based on achievement                               measures. For
                                                                company measures.          FY22,
                                                                                       For FY22,
we
we used a                                                measures as
          acombination of top- and bottom-line financial measures       shown below,
                                                                     as shown          each
                                                                                below, each
                                                  "safe harbor"
equally weighted at 50%. Further, the PBP has aa"safe            feature ensuring
                                                        harbor" feature            the pool
                                                                         ensuring the       will
                                                                                       pool will
fund
fund at
     at a
        aminimum of 50% of the target regardless of how severe we   we under  perform on
                                                                        under perform     these
                                                                                       on these
measures.
measures.  Conversely, the PBP  pool is capped  at 200%   even  in the case of out performing
                                                               in the case of out performing
against these measures.
           Tor trine                           Profitability



            Wtg
        50% Wtg                                50% Wtg
                                                   Wtg
        GAAP                                   Adjuste
                                               Adjustedd                                Company
                                                                                        Company
       Revenue
       Revenue                                  EBITDA                                   Funding
       (50-200%)
       (50-200%)                                50-200%
                                               (50-200%)


                PBP
Allocating the PBP
                                                       exercising discretion.
The PBP pool is allocated to employees by managers exercising                  Since the
                                                                  discretion. Since        inception
                                                                                      the inception
of the plan, we have used aa50/50 allocation model whereby
                                                    whereby the   employee's bonus
                                                             the employee's            target
                                                                                bonus target isis
                                          performance factor and the
adjusted up/down based on the company performance                   the employee's   individual
                                                                        employee's individual
performance
performance factor, each weighted 50%. The company performance         factor has historically
                                                        performance factor has historically beenbeen
                                                                         opportunity is
                                                                  range opportunity
                                                          payout range
the same as the funding measures. The actual individual payout                            25-200%
                                                                                       is 25-200%
                                             allocation model  as  seen  here:
of the employee's bonus target based on the allocation model as seen here:
                                                              -'\         (_

                               Company                                          Individual
     Ihnsavisluel                                    sod,                      Performance
                                                                                                      5014
                                                                                                                                Beasts
       Bonus                  Porkurnanos                                                           WeIttd
                                                                                                    Weighted
                                                   *righted                       F.96l6r
                    x            Factor                                                                                         Payout
      Target                                        Factor                       IP-200%4            FaIAW
                                                                                                     Faoto,r
                                (50,27.0%)

                                                                                                                  1


FY22 Funding Curves
                    Perfomiance
                    Performance                                       60% Min.
                                                                      50%                        100%
                                                                                                 100%               200%
                      Meti1c
                      Metrics                   Weighting
                                                Weighting             Funding
                                                                      Funding                TargetFundin
                                                                                             Target       g
                                                                                                    Funding      Max. Funding
                                                                                                                 Max. Funding
          Reere
     GAAP Reyerce
     Yor.6T'
     P:erc eri of Target
     Percent
                                                   50%
                                                   5Q4              •ClirK .
                                                                                              Mr
     Adjusted   EBITDA ex
     Adjusted EB1TDA       PBF1 2
                        ex PBP1  2                                  <$
                ES1 TOA Margin
     Adjcii&d EBOTOA
     Adjusted                           P&P)
                               (bafc,'& P
                        Matr/7 (betkxa              0%
                                                   50%
     Pere ent lof
     Percent      Tage
              of Target                                                                                               >

1.                              compensation, amortization, depreciation, acquisitions
       Excludes stock-based compensation,                                              (except for
                                                                          acquisitions (except           deals such
                                                                                                   small deals
                                                                                               for small            as
                                                                                                               such as
1.
       acqui-hire), restructuring and extraordinary charges
2.
2.     Cash expenses adjusted for changes in cost of revenue       calculate
                                                                to calculate
                                                        revenue to




                                                                                                                                5
                                                                                                                                5

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3.    YoY revenue growth excludes MoPub and MoPub Acquire
                                            MoPub Acquire




     GAAP Rev enue (Com pany PIP)




                                                      Revenue
                                                      keve^,ue



     Adjusted EBITDA Excl. PBP (Company PBP




                                                  AdjuslEd CEStIBA
                                                  Adjuswd    BITDA




   It Together
In It
In
                                                                                                      in
                                                                                                Note, in
                                                                   performance is at-target. Note,
The   following illustrates paying the bonus assuming individual performance
The following
this example the employee contributes $2,500 to the funded pool ($5,000 bonus          target x
                                                                               bonus target      50%
                                                                                              x50%

                                  In order
            performance factor). In
company performance                        to maintain a
                                              maintain a cost neutral funded
                                                              neutral funded  plan
                                                                              plan and
                                                                                   and  treat
                                                                                        treat  all
                                                                                               all
                                            performance perspective, we are able to
employees the same from an individual performance                                   to preserve    cost
                                                                                       preserve cost
neutrality - i.e., the employee receives exactly what they contributed to
             -
                                                                         to the funded   pool.
                                                                                funded pool.




                                                                                                       6
                                                                                                       6

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Salary:r'               $100,000
                          10oU00                    Corn p a ny Performance:
                                                     Company     Prfôrni                50%
          Tar
 Boinus Target
BMus             %:
             get%!           5%                    Individual Performance:             100%
  Dfl U5Target
Bonus            $:
          Thrget$:        $5.000



                            F3       I Cr•AxB      I.         EE                    .13:4F
      Salary             Bmn
                        Bonus           Bonus
                                         E.ius
                                               Company
                                                Ciipny     Company
                                                            Com pany
                                                              wtg
                                                                                Prorated
                                                                                 Por31
                       Target
                        Target,%       Targets eiicrrrrice
                                        Ti S Performance     Wtq                 Target
                                                                                  Trq
                                                                                Amountnt                Srep1 pits Step 22
                                                                                                         sJp1pW5Step
     5100 000                          55 00C                       50             SC             Tota' Payout
                                                                                                  Total  Payout(sum     ofF amts)
                                                                                                                 5Uffl of    amts)
                                                                                                             52.500
                    r':pj
        ryA                a          :7.- =Ax E                     FF        7- = C • D 'A F

   Annual     ary
           Sa l
   AnnualSalary          Bonus
                        Bonus            Bonus
                                        Bonus       Individual
                                                     IidR1dua    lndruirlual
                                                                  &n.cua[       Prorated
                                                                                 Prorated
                        Target
                       Target '?;%     Te S
                                       Targets       Modifier       Wtd           Target
                                                                                   Thrge
                                                                                 AnmokArrt
                                                                                  Amount
            100000
                ,...      ,r_5%        sr, ooc
                                        $5000         0c "
                                                      100%          .:3...,.
                                                                    5'           E52500
                                                                                   2 500




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